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 4

 5
     Attorney for Defendant
     ANDRES GUZMAN
 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9                                        SACRAMENTO DIVISION

10

11   UNITED STATES OF AMERICA,                     )       Case No. CR S 13-CR-00288 MCE
                                                   )
12                                    Plaintiff,   )
                                                   )
13           vs.                                   )       AMENDED STIPULATION AND
                                                   )       ORDER TO CONTINUE STATUS
14
                                                   )       CONFERENCE
                                                   )
15
     ANDRES GUZMAN,                                )
                                                   )
16                                    Defendant.   )
                                                   )
17

18            IT IS HEREBY stipulated between the United States of America through its
19   undersigned counsel, Michael McCoy, Assistant United States Attorney and Howard J.
20   Shopenn, attorney for defendant Andres Guzman, that the status conference presently set
21   for April 3, 2014, be continued to July 31, 2014 at 9:00 a.m., thus vacating the presently
22   set status conference.
23            Counsel for defendant needs additional time to review discovery, engage in
24   additional research and investigation, request additional discovery productions from the
25   government, discuss potential resolutions with his client, prepare pretrial motions, and/or
26   otherwise prepare for trial.
27            Counsel for defendant believes that failure to grant the above-requested
28   continuance would deny him the reasonable time necessary for effective preparation,

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 1   taking into account the exercise of due diligence.
 2            The government does not object to the continuance.
 3            Therefore, counsel for the parties stipulate and agree that the interest of justice
 4   served by granting this continuance outweighs the best interest of the defendants and the
 5   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/reasonable time
 6   for effective preparation) and Local Code T4, and agree to exclude time from the date of
 7   the filing of the order until the date of the status conference, July 31, 2014.
 8            IT IS SO STIPULATED.
 9

10
     Dated:        March 26, 2014                        /s/ Andres Guzman________
11                                                        ANDRES GUZMAN
12

13
     Approved: March 26, 2014                            By: /s/ Howard J. Shopenn
14
                                                         HOWARD J. SHOPENN
15
                                                         Attorney for Defendant
                                                         ANDRES GUZMAN
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17
     Approved: March 26, 2014                            By: /s/ Michael McCoy
18                                                       MICHAEL MCCOY
                                                         Assistant U.S. Attorney
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20
     Dated: March 26, 2014                               Respectfully submitted,
21

22                                                       By: /s/ Howard J. Shopenn
                                                         HOWARD J. SHOPENN
23                                                       Attorney for Defendant
24                                                       ANDRES GUZMAN

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     Request for Waiver of Presence                                        Case No. CR S 13-00288 MCE
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 1                                               ORDER
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              The Court, having received, and considered the stipulation of the parties, and good
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     cause appearing thereform, adopts the stipulation of the parties in its entirety as its order.
 4
     Based on the stipulation of the parties and the recitation of facts contained therein, the
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     Court finds that it is unreasonable to expect adequate preparation for pretrial proceedings
 6
     and trial itself within the time limits established in 18 U.S.C. §3161.
 7
              In addition, the Court specifically finds that the failure to grant a continuance in
 8
     this case would deny defense counsel reasonable time necessary for effective preparation,
 9
     taking into account the exercise of due diligence. The Court finds that the end of justice
10
     to be served by granting the requested continuance outweigh the best interests of the
11
     public and the defendants in a speedy trial.
12
              The Court orders that the time from the date of the parties’ stipulation, April 3,
13
     2014, to and including July 31, 2014, shall be excluded from computation of time within
14
     which the trial of this case must be commenced under the Speedy Trial Act, pursuant to
15
     18 U.S.C. §3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for
16
     defense counsel to prepare). It is further ordered that the April 3, 2014, status conference
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     shall be continued to July 31, 2014 at 9:00 a.m.
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              IT IS SO ORDERED.
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     Dated: April 2, 2014
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     Request for Waiver of Presence                                        Case No. CR S 13-00288 MCE
